
















In The


Court of Appeals


Sixth Appellate District of Texas at Texarkana



______________________________



No. 06-09-00076-CR


______________________________




RONALD SHIPP, Appellant



V.



THE STATE OF TEXAS, Appellee




                                              


On Appeal from the 294th Judicial District Court


 Van Zandt County, Texas


Trial Court No. 14911




                                                 




Before Morriss, C.J., Carter and Moseley, JJ.


Memorandum Opinion by Chief Justice Morriss



MEMORANDUM OPINION



	In the fall of 1993, (1) Wendy Landreth was driving her daughter, Sheila Prater, and sister,
Charlotte Clem, along a Van Zandt County (2) road, when Ronald Shipp overtook Landreth's vehicle
with his truck, shot out the rear glass of her vehicle, caused a crash between the two vehicles, shot
and killed Landreth, shot Clem in the arm, and kidnapped and raped Prater, his former girlfriend. 
Arrested hours later without the benefit of an arrest warrant, Shipp ultimately pled guilty to having
murdered Landreth. (3)  His plea was entered under a plea agreement by which he retained the right to
contest the denial of his motion to suppress his confession, the fruit of his warrantless arrest.  We
affirm the trial court's judgment because we find that the trial court's ruling--that Shipp's arrest was
based on probable cause--is amply supported by this record.

	Before setting out our analysis of the sole issue on appeal, we provide a bit more of the
underlying facts.

	Clem was asleep in the car when her sister alerted her that a truck was approaching without
lights on.  While the truck was passing them, Clem and Prater heard a gunshot followed by shattering
of the rear window.  They recognized the driver of the truck as Shipp, Prater's ex-boyfriend of four
to five years.  The truck maneuvered in front of Landreth's vehicle, suddenly stopped, and caused
Landreth's vehicle to hit Shipp's truck.  Shipp got out of the truck, ran to Landreth, and pointed a
gun at her.  Clem heard Prater screaming as Shipp next grabbed Prater and held her at gunpoint. 
After Shipp instructed Prater to get into his truck, he shot Landreth in the chest at close range and
also shot Clem in the arm.  After Shipp drove away, Clem realized Landreth was dead.  Clem ran
to a nearby home and called 9-1-1.  Clem was transported to the hospital. 

	At approximately 4:00 a.m., police officers found Landreth's body beside her abandoned car. 
Captain Rock Ellis arrived at the scene, was given Shipp's name as the suspect by Clem, and was
informed of Prater's kidnapping.  An all-points bulletin, issued around 4:30 a.m., described Shipp's
black Ford Ranger pickup truck and warned that Shipp was armed and dangerous.

	According to Prater, after Shipp raped her, he stopped at a gas station to get something to
drink.  While he was inside, Prater escaped in the truck and ended up at the Athens Police
Department.  Ellis traveled to Athens to interview Prater at approximately 5:30 or 6:00 a.m.  Prater
described the kidnapping and also reported being raped by Shipp.  

	After receiving information from people who had spotted Shipp running on foot, Ellis "called
in the dogs from the Texas prison system.  We were trying to set up several different manhunts." 
Ellis stated he was "answering questions or going to different locations where potential sightings
were."  At last, Ellis was told "there was a person at the Terrell State Hospital want[ing] to turn
himself in report[ing] to be Ronald Glyn Shipp."  Shipp was apprehended by the Terrell Police
Department around 11:15 a.m.  Ellis transported Shipp back to Van Zandt County and presented him
to Magistrate Brenda Sanford, who advised Shipp of his Miranda (4) rights and issued a warrant for
his arrest. (5)  Shipp waived his rights in writing and confessed to the murder. 

	Counsel moved to suppress Shipp's confession on the ground that it was the fruit of an illegal
arrest without warrant.  When asked at the hearing why Ellis did not obtain a warrant before the
arrest, he stated Shipp was a flight risk and "[w]e were trying to apprehend him.  I just didn't have
time to come out of the field and go in and sit down and write."  He testified, "I had every man in
the field I could get trying to locate the suspect . . . there was a manhunt going on.  I didn't have time. 
I was fearful of anybody coming in contact with him."

	In denying the motion to suppress, the trial court found that probable cause existed for
Shipp's detention, that he was adequately advised of his rights, that he voluntarily and intelligently
waived them, and that the confession was also voluntary. 

	Trial courts' decisions to deny motions to suppress are reviewed for abuse of discretion.  Oles
v. State, 993 S.W.2d 103, 106 (Tex. Crim. App. 1999); Villarreal v. State, 935 S.W.2d 134, 138
(Tex. Crim. App. 1996); Maysonet v. State, 91 S.W.3d 365, 369 (Tex. App.--Texarkana 2002, pet.
ref'd).  Because the trial court is the exclusive trier of fact and judge of witness credibility at a
suppression hearing, we afford almost total deference to its determination of facts supported by the
record.  State v. Ross, 32 S.W.3d 853, 856 (Tex. Crim. App. 2000); Carmouche v. State, 10 S.W.3d
323, 327 (Tex. Crim. App. 2000); Guzman v. State, 955 S.W.2d 85, 89 (Tex. Crim. App. 1997).  We
also afford such deference to a trial court's ruling on application of law to fact questions, also known
as mixed questions of law and fact, if the resolution of those questions turns on an evaluation of
credibility and demeanor.  Miller v. Fenton, 474 U.S. 104 (1985).  On the other hand, the trial court's
application of the law of search and seizure to the facts and those questions not turning on credibility
and demeanor are reviewed de novo.  Ross, 32 S.W.3d at 856; Hernandez v. State, 957 S.W.2d 851,
852 (Tex. Crim. App. 1998); Maysonet, 91 S.W.3d at 369.

	Since all evidence is viewed in the light most favorable to the trial court's ruling, we are
obligated to uphold it if that ruling was supported by the record and was correct under any theory of
law applicable to the case.  Ross, 32 S.W.3d at 856; Carmouche, 10 S.W.3d at 327; State v. Ballard,
987 S.W.2d 889, 891 (Tex. Crim. App. 1999); Maysonet, 91 S.W.3d at 369.

	At the outset, we presume that police conduct was proper.  Gaines v. State, 888 S.W.2d 504,
508 (Tex. App.--El Paso 1994, no pet.).  In order to defeat the presumption of the officer's proper
conduct, Shipp was required to first produce evidence to establish that a search or seizure occurred
without a warrant.  Id. (citing Simmons v. United States, 390 U.S. 377, 389-90 (1968)).  In this case,
Shipp met this burden by establishing that he was arrested without a warrant.  Id.  Thus, the  burden
shifted to the State to prove, by a preponderance of the evidence, the reasonableness of Shipp's
arrest.  Id.

	Shipp was first arrested by Terrell police based on the all-points bulletin. (6)  A police broadcast
may be sufficient to provide an officer with probable cause to stop persons matching the description
for investigatory purposes if based on reliable information furnished by a witness to a criminal act.
Id. at 509.  The test as to probable cause in such cases is whether the requesting officer was in
possession of sufficient knowledge to constitute probable cause.  Id.; Weeks v. State, 417 S.W.2d
716, 718 (Tex. Crim. App. 1967). 

	On appeal, Shipp cites Article 14.04 of the Texas Code of Criminal Procedure for the rule
that a peace officer can pursue and arrest a person without a warrant if he or she "is shown
satisfactory proof, upon the representation of a credible person, that a felony has been committed and
the offender is about to escape."  See Tex. Code Crim. Proc. Ann. art. 14.04 (Vernon 2005).  Shipp
focuses on the time elapsing between when Landreth's body was found and when Shipp was
arrested.  His main contention is that officers had plenty of opportunity to obtain a warrant,
especially since Shipp was detained at the Terrell Police Department.  Thus, Shipp contends the State
cannot meet its burden to demonstrate he was "about to escape."  

	The State responds to Shipp's argument using Article 14.04 of the Texas Code of Criminal
Procedure.  The trial court, believing Ellis' testimony, could have determined Shipp "was highly
mobile and could have easily escaped detection had police not intervened" at the hospital. See
Hughes v. State, 24 S.W.3d 833, 839 (Tex. Crim. App. 2002).  "It would have been unreasonable
to break pursuit, abandon the fresh trail of a recently committed crime, and force police to acquire
an arrest warrant" in hopes that Shipp would remain at the hospital undetained.  Id.

	It has long been the rule in this State that a warrantless arrest can be justified by probable
cause to believe that the suspect has committed, or is committing, an offense.  Amores v. State, 816
S.W.2d 407, 416 (Tex. Crim. App. 1991); Rhoades v. State, 84 S.W.3d 10, 14 (Tex.
App.--Texarkana 2002, no pet.).  Article 14.01(b) of the Texas Code of Criminal Procedure
provides that "a peace officer may arrest an offender without a warrant for any offense committed
in his presence or within his view."  Tex. Code Crim. Proc. Ann. art. 14.01(b) (Vernon 2005).  The
Texas Court of Criminal Appeals has been clear in its interpretation of this rule and has stated that
the test for probable cause for a warrantless arrest under Article 14.01(b) is "[w]hether at that
moment the facts and circumstances within the officer's knowledge and of which he had reasonably
trustworthy information sufficient to warrant a prudent man in believing that the arrested person had
committed or was committing an offense." Beverly v. State, 792 S.W.2d 103, 104-05 (Tex. Crim.
App. 1990) (citing Beck v. Ohio, 379 U.S. 89 (1964)); Rhoades, 84 S.W.3d at 14.  

	It is clear that an officer can make a warrantless arrest for an offense that was committed at
an earlier time, even where the officer did not personally see the offense being committed.  Akins
v. State, 202 S.W.3d 879, 889 (Tex. App.--Fort Worth 2006, pet. ref'd) (citing Beverly, 792 S.W.2d
at 104-05).  An officer may rely on lay persons, witnesses, or credible informants in making the
overall probable cause assessment.  See Lunde v. State, 736 S.W.2d 665, 667 (Tex. Crim. App.
1987); Akins, 202 S.W.3d at 897. Thus, the bottom line is that, if an officer has reasonably
trustworthy information which, when coupled with the officer's personal observations, establishes
probable cause to believe that an offense is being or has been committed, the warrant exception will
apply.  See Beverly, 792 S.W.2d at 104-05. Whether probable cause exists is determined by
considering the totality of the circumstances.  Amores,  816 S.W.2d at 413. 

	Here, Ellis had a few personal observations and a considerable amount of reasonably
trustworthy information, which together provided him probable cause for his arrest of Shipp.

	After receiving the initial report of the shooting, Ellis drove to the crime scene and observed
Landreth's damaged and disabled vehicle as well as Landreth's dead body, which according to other
reports in the record was clearly showing the signs of a shotgun blast to the chest.  It was clear to
Ellis that there had been a shooting, based on the wound to Landreth and the shotgun shells lying
nearby.  Ellis was told that Shipp was the shooter and that Shipp was in a black Ford Ranger pickup
truck with a white female kidnap victim.  About 4:30 a.m, Ellis put out an all-points bulletin for
Shipp indicating that he was armed and dangerous.  Soon thereafter, Ellis received a report that
Shipp's kidnap victim, Prater, was located at the Athens Police Department, to which Ellis went and
interviewed her.  Prater told Ellis that she had been kidnapped and raped by Shipp.  Prater also gave
Ellis a statement in which she stated that Shipp had shot Landreth.  Still later, Ellis received a report
that Shipp was at Terrell State Hospital wanting to turn himself in or check himself in.  Ellis asked
Terrell police to hold Shipp until Ellis could get there.  Ellis went to Terrell, arrested Shipp, and
transported him back to Athens, where--a few hours later--Shipp was taken before Sanford, who
read him his rights before a statement was taken from him.

	We conclude that a reasonable officer in Ellis' position (7) would have probable cause to
determine Shipp had committed an offense, such that a warrant was not required for his arrest.  See
Beverly, 792 S.W.2d at 104-05.  Thus, based on the totality of the circumstances in this case, the
trial court was justified in finding that the arrest was legal. (8) 

	Because the arrest was legal, Shipp's voluntary confession was validly admitted as the fruit
of a legal arrest.  Accordingly, we find that the trial court did not abuse its discretion in failing to
suppress the confession.

	We affirm the judgment of the trial court.




							Josh R. Morriss, III

							Chief Justice


Date Submitted:	December 3, 2009

Date Decided:		December 15, 2009


Do Not Publish
1. The Texas Court of Criminal Appeals granted an out-of-time appeal in this case from the
1994 &nbsp;judgment &nbsp;such &nbsp;that &nbsp;we &nbsp;may &nbsp;address &nbsp;the &nbsp;merits &nbsp;of &nbsp;this &nbsp;appeal.  &nbsp;See &nbsp;Ex &nbsp;parte &nbsp;Shipp, No.
AP-76,061, 2008 WL 5245337 (Tex. Crim. App. Dec. 17, 2008) (not designated for publication).
2. This case was transferred to this Court from the Twelfth District Court of Appeals in Tyler
as &nbsp;part &nbsp;of &nbsp;the &nbsp;Texas &nbsp;Supreme &nbsp;Court's &nbsp;docket &nbsp;equalization &nbsp;program.  &nbsp;See &nbsp;Tex. &nbsp;Gov't &nbsp;Code
Ann. § 73.001 (Vernon 2005). We are not aware of any conflict between the precedent of the Tyler
court and the precedent of this Court on any issue relevant in this appeal. See Tex. R. App. P. 41.3.
3. Shipp was convicted of the offense of murder and received life imprisonment in the Texas
Department of Criminal Justice--Institutional Division.  
4. Miranda v. Arizona, 384 U.S. 436 (1966).
5. It appeared that Shipp also had warrants outstanding from other counties at the time of
arraignment.   
6. There is no indication Shipp was free to leave the police department.
7. While we find no indication that Ellis knew the following information at the time he arrested
Shipp, Clem also gave a statement putting the murder weapon in Shipp's hand.  Since Prater drove
Shipp's truck to the Athens Police Department after her escape and told them of the circumstances
and of Shipp's actions, officers there had retrieved from Shipp's truck the "short barrel shotgun
believed to be the weapon used in the shooting."  
8. Also, Article 14.03(a)(1) of the Texas Code of Criminal Procedure authorizes a warrantless
arrest of persons found in suspicious places and under circumstances which reasonably show that
such persons have been guilty of some felony.  This article requires "the functional equivalent of
probable cause to believe that a particular person has committed a felony."  Johnson v. State, 722
S.W.2d 417, 421 (Tex. Crim. App. 1986), overruled in part on other grounds by McKenna v. State,
780 S.W.2d 797 (Tex. Crim. App. 1989); see Tex. Code Crim. Proc. Ann. art. 14.03 (Vernon
Supp. 2009).  Again, Shipp was found at "Terrell State Hospital [and] wanted to turn himself in."
Hospitals have been found to be suspicious places by Texas courts.  Dyar v. State, 125 S.W.3d 460,
468 (Tex. Crim. App. 2003).  The fact that Shipp was found in a hospital, coupled with his
reportedly wanting to turn himself in, and the remaining circumstances, could also have given Ellis
probable cause that Shipp was guilty of a felony such that the warrant exception applied to the
Terrell Police Department's arrest.  


